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                         Exhibit K
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                         Exhibit 1
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3/19/25, 3:58 PM                                                  Gmail - Fwd: POTTS, RANDALL ROBERTS - Notification of Termination During Probationary Period
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             On June 30, 2024, the Agency appointed you to the position of                                  . As documented on your appointment Standard Form
             50 (SF-50), your appointment is subject to a probationary/trial period. The agency also informed you of this requirement in the job opportunity
             announcement for the position. This probationary period is the final step of the examination process. An employee serving a probationary period may
             be terminated during the one-year probationary period for any legitimate reason, e.g., performance, conduct, budget, etc. You were made aware of
             and voluntarily accepted all these terms when you entered your position on June 30, 2024.

             In its January 20, 2025, memorandum entitled Guidance on Probationary Periods, Administrative Leave and Details, OPM advised that “[p]robationary
             periods are an essential tool for agencies to assess employee performance and manage staffing levels.” In accordance with the direction to agencies
             to reduce budgets, implement a hiring freeze, reorganize and reprioritize our work and prepare for a reduction in force, we have come to the
             conclusion that we cannot continue with the current staffing levels.

             For these reasons, I regret to inform you that I am terminating you from your position of                                                   with the agency and the
             federal civil service effective today.

             Upon receipt of this termination notice, you are obligated to return all NARA issued property and your NARA identification card, in proper working
             condition, to me. You may be held personally liable for the value of any NARA issued property not returned.

             If you believe your probationary designation was erroneous, please contact labor.relations@nara.gov.

             We appreciate your service to the Agency and wish you the greatest of success in your future endeavors. If you have any questions, please contact
             labor.relations@nara.gov.

             You may appeal this decision to the Merit Systems Protection Board (MSPB) if you allege that this action was based on partisan political reasons or
             marital status.

             If you elect to appeal to the MSPB, your appeal must be filed no later than 30 days after the effective date of this action, or 30 days after the date you
             receive this letter, whichever is later. If you do not submit an appeal within the time set by statute, regulation, or order of the judge, your appeal will be
             dismissed as untimely unless a good reason for the delay is shown. MSPB's regulations may be found at www.mspb.gov. An appeal may be prepared
             and filed electronically at http://e-appeal.mspb.gov. The MSPB strongly encourages electronic filing to reduce delays caused by their increased
             telework posture.

             Alternatively, while it is not recommended, you may choose to submit your MSPB appeal using the attached MSPB Form 185. Mail the hard copy to
             the appropriate MSPB office based on your location, which can be found at the following website:

             Merit Systems Protection Board

             https://www.mspb.gov/about/contact.htm

             If you have prior military service and believe this action was based on discrimination for that service, you may file a complaint with the Department of
             Labor or file an appeal directly with the MSPB. If you first file an appeal with the Department of Labor, you may not file an appeal with the MSPB until
             the Department of Labor notifies you that it was unable to resolve the complaint.

             If you allege the action taken against you was based in whole or in part on discrimination because of race, color, religion, sex, age (over 40), national
             origin, or disability, you may appeal the discrimination allegation with the Equal Employment Opportunity Commission (EEOC). To begin this process,
             you must contact a counselor at (301) 837-0939 in NARA’s Office of Equal Employment Opportunity (NEEO) within 45 calendar days of the effective
             date of this action. Failure to contact an EEO counselor within the 45-calendar day timeframe may result in the dismissal of your appeal.

             You may seek corrective action by the Office of Special Counsel (OSC) at www.osc.gov. Your appeal will be limited to a determination as to whether
             the agency took one or more covered personnel actions against you in retaliation for making one or more protected whistleblowing disclosures, which
             constitutes a prohibited personnel practice in accordance with Title 5 United States Code (USC) 2302(b). If OSC dismisses your claim, you may file

https //mail google com/mail/u/0/?ik 02bc0839d1&view pt&search all&permmsgid msg f 1824427290096377491&simpl msg f 1824427290096377491                                             2/3
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             an individual right of action (IRA) appeal to MSPB, but MSPB will only adjudicate whether you proved that your protected disclosure was a
             contributing factor in the effected action.

             Whichever is filed first, an appeal to the MSPB, or a discrimination complaint, shall be considered an election by you to proceed under that appeal
             process. Once you elect a forum, you will not be able to challenge the action in a different forum.

             Should you appeal this action in any forum, you are expected to notify the forum that the following individual should receive a copy of your appeal:

             National Archives and Records Administration

             Stephani Abramson

             Counsel for Procurement and Employment Law

             Office of General Counsel

             8601 Adelphi Road, Room 311

             College Park, MD 20740

             (301) 837-1888

             Fax: (301) 837-0293

             Stephani.Abramson@nara.gov

             A Standard Form 50 effecting your termination will be forwarded to you when available. If you have any questions concerning this letter, please
             contact Labor.Relations@nara.gov with the subject line Probationary Separation.

             Please acknowledge receipt using the form link below and keep a copy of this letter for your records.

             Acknowledgement of Termination During Probationary Period

             Attachment: MSPB Form 185, Merit Systems Protection Board Appeal Form




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